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06                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
07                                      AT SEATTLE

08 UNITED STATES OF AMERICA,              )
                                          )              CASE NO. CR06-026-RSL
09         Plaintiff,                     )
                                          )
10         v.                             )              SUMMARY REPORT OF U.S.
                                          )              MAGISTRATE JUDGE AS TO
11   DANIEL MENGISTEAB YOHANNES,          )              ALLEGED VIOLATIONS
                                          )              OF SUPERVISED RELEASE
12         Defendant.                     )
     ____________________________________ )
13

14          An initial hearing on supervised release revocation in this case was scheduled before me

15 on March 16, 2011. The United States was represented by AUSA Todd Greenberg and the

16 defendant by Bruce D. Erickson. The proceedings were digitally recorded.

17          Defendant had been sentenced on or about December 8, 2006 by the Honorable Robert

18 S. Lasnik on a charge of Conspiracy to Distribute Cocaine Base, and sentenced to 36 months

19 custody, five years supervised release. (Dkt. 264.)

20          The conditions of supervised release included the standard conditions plus the

21 requirements that defendant participate in a substance abuse program, abstain from alcohol,

22 submit to search, participate in mental health treatment, provide his probation officer with access


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01 to financial information upon request, and be prohibited from association with any known gang

02 members. The sentence was amended on April 21, 2008 to provide for imprisonment of 29

03 months, pursuant to a change in the guidelines sentence range for crack cocaine, 18 U.S.C. §

04 3582(c)(2), 28 U.S.C. § 994(u). (Dkt. 365.) Supervision commenced on April 28, 2008. On

05 August 25, 2008, defendant’s probation officer reported that defendant had violated conditions

06 of supervision by associating with a known felon. The alleged violation was addressed in Moral

07 Reconation Therapy and the Court approved the recommendation of no other action at that time.

08 (Dkt. 392.)

09          On September 11, 2008, defendant’s conditions of supervised release were modified to

10 require participation in home confinement with electronic monitoring for up to 90 days. (Dkt.

11 396.) On January 22, 2010, defendant admitted violating the conditions of supervised release by

12 failing to participate in Moral Reconation Therapy, failing to report to the probation officer as

13 directed, committing the crime of Driving with a Suspended License, associating with a known

14 felon, and associating with persons engaged in criminal activity. (Dkt. 434.) Defendant was

15 sentenced to 30 days and 59 months supervised release. He was further required to not obtain

16 any forms of identification in any but his true identity. (Dkt. 439.)

17          In an application dated August 3, 2010 (Dkt. 443, 444), U.S. Probation Officer Thomas

18 J. Fitzgerald alleged the following violations of the conditions of supervised release:

19          1.     Failing to comply with the Location Monitoring Program since March 20, 2010,

20 in violation of the special condition requiring he participate in the Location Monitoring Program

21 with electronic monitoring for a period of 120 days, as directed by the probation officer.

22          2.     Failing to participate in Moral Reconation Therapy (MRT) as directed since May


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01 5, 2010, in violation of his special condition of supervised release.

02          3.     Consuming marijuana on or before July 7, 2010, in violation of standard condition

03 number seven of his supervised release.

04          4.     Failing to report for urinalysis testing as directed on July 14, 2010, in violation

05 of his special condition of supervised release.

06          5.     Failing to report to the probation officer as directed on July 16, July 20, and July

07 23, 2010, in violation of standard condition number two of his supervised release.

08          Defendant was advised in full as to those charges and as to his constitutional rights.

09          Defendant admitted the alleged violations and waived any evidentiary hearing as to

10 whether they occurred.

11          I therefore recommend the Court find defendant violated his supervised release as

12 alleged, and that the Court conduct a hearing limited to the issue of disposition. The next

13 hearing will be set before Judge Lasnik.

14          Pending a final determination by the Court, defendant has been detained.

15          DATED this 17th day of March, 2011.



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17                                                Mary Alice Theiler
                                                  United States Magistrate Judge
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     cc:    District Judge:               Honorable Robert S. Lasnik
20          AUSA:                         Todd Greenberg
            Defendant’s attorney:         Bruce D. Erickson
21          Probation officer:            Thomas J. Fitzgerald

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